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 6 United States of America
 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:12-CR-198 MCE
11
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
12                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          ORDER
13
     MARLA ORTEGA,                                      DATE: September 15, 2016
14                                                      TIME: 10:00 a.m.
                                  Defendant.            COURT: Hon. Morrison C. England, Jr.
15
16
                                                    STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
18
     through defendant’s counsel of record, hereby stipulate as follows:
19
            1.      This matter was set for sentencing on September 15, 2016.
20
            2.      By this stipulation, defendant now moves to continue the sentencing date until December
21
     8, 2016. Due to scheduling delays, MARLA ORTEGA was not able to schedule her interview with the
22
     U.S. Probation Officer until September 13, 2016.
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28
     ///
       STIPULATION TO CONTINUE SENTENCING HEARING        1
             Case 2:12-cr-00198-MCE Document 1249 Filed 09/19/16 Page 2 of 2


 1          3.      Therefore, there is good cause to continue the sentencing of MARLA ORTEGA to

 2 December 8, 2016 to provide sufficient time for the probation officer to write a pre-sentence
 3 investigation report, for the parties to file informal and formal objections, and for the filing of sentencing
 4 memoranda.
 5          IT IS SO STIPULATED.

 6
 7
     Dated: September 13, 2016                                PHILLIP A. TALBERT
 8                                                            Acting United States Attorney
 9
                                                              /s/ ROGER YANG
10                                                            ROGER YANG
                                                              Assistant United States Attorney
11
12
     Dated: September 13, 2016                                /s/ SHARI RUSK
13                                                            SHARI RUSK
14                                                            Counsel for Defendant
                                                              MARLA ORTEGA
15
16
17                                                    ORDER

18          IT IS SO ORDERED.

19 Dated: September 15, 2016
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      STIPULATION TO CONTINUE SENTENCING HEARING          2
